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     Attorney General of California
 2   MICHAEL NEWMAN, State Bar No. 222993
     Senior Assistant Attorney General
 3   WILLIAM H. DOWNER, State Bar No. 257644
     Supervising Deputy Attorney General
 4   *CARLY J. MUNSON, State Bar No. 254598
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 8   Attorneys for Defendant Kevin Kish, Director of
     the California Civil Rights Department
 9

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11

12                             IN THE UNITED STATES DISTRICT COURT

13                          FOR THE EASTERN DISTRICT OF CALIFORNIA

14

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     HINDU AMERICAN FOUNDATION, INC.,                           2:22-CV-01656-DAD-JDP
17   a Florida Not-For-Profit Corporation;
     SAMIR KALRA; MIHIR MEGHANI;                                DECLARATION OF CARLY J.
18   SANGEETHA SHANKAR; DILIP AMIN,                             MUNSON IN SUPPORT OF
     SUNDAR IYER, RAMANA KOMPELLA                               DEFENDANT’S OPPOSITION TO DOE
19   as individuals; and DOE PLAINTIFFS ONE                     PLAINTIFFS’ MOTION TO PROCEED
     TO THREE,                                                  UNDER PSEUDONYMS
20
                                               Plaintiff,
21
                    v.                                          Date:        No Date Set
22                                                              Time:        No Date Set
                                                                Judge:       Hon. Dale A. Drozd
23   KEVIN KISH, an individual, in his official
     capacity as Director of the California Civil               Action Filed: September 20, 2022
24   Rights Department; and DOES 1-50,                          First Am. Compl Filed: September 21, 2023
     inclusive,
25
                                            Defendants.
26

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                                                            1
        Decl. of Carly J. Munson in Support of Opposition to Doe Plaintiffs’ Motion to Proceed Under Pseudonyms
                                               (2:22-CV-01656-DAD-JDP)
     Case 2:22-cv-01656-DAD-JDP Document 40-1 Filed 05/20/24 Page 2 of 7


 1   I, Carly J. Munson, declare as follows:

 2         1.     I am an attorney admitted to practice before the courts of the State of California and

 3   before this Court. I am a Deputy Attorney General with the Office of the Attorney General,

 4   which represents Defendant Kevin Kish in his official capacity as the Director of the California

 5   Civil Rights Department (the “Department”) in the above-captioned matter.

 6         2.     I make this declaration in support of Director Kish’s Opposition to Doe Plaintiffs’

 7   Motion to Proceed Under Pseudonyms. If called as a witness, I would and could competently

 8   testify to the facts stated herein, all of which are within my personal knowledge.

 9         3.     Plaintiff Hindu American Foundation’s (HAF) Complaint was filed on September 20,

10   2022 (ECF No. 1), and served on Director Kish on November 17, 2022 (ECF No. 4).

11         4.     On February 6, 2023, Director Kish filed his Motion to Dismiss Plaintiff’s Complaint

12   Pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6) and supporting documents

13   (ECF Nos. 8, 10). After considering the Parties’ briefing, the Court issued an order on August 31,

14   2023, that granted Director Kish’s Motion to Dismiss and provided leave for HAF to file an

15   amended complaint within 21 days of entry of the order. (ECF No. 20).

16         5.     On September 20, 2023, HAF’s counsel, Tim Travelstead, contacted me by email to

17   inform me that HAF planned to file an amended complaint that would add individual plaintiffs to

18   the case. HAF’s counsel stated that some of the plaintiffs wanted to remain anonymous and

19   asked if Director Kish would stipulate that these unidentified plaintiffs could appear in the case

20   anonymously. I replied to HAF’s counsel the same day to seek further information regarding the

21   substance and scope of his request, and the basis for seeking anonymity. I stated that Director

22   Kish would be prejudiced in his ability to defend against this action if the Doe Plaintiffs’

23   identities were not disclosed to him. I provided my availability to meet and confer on the issue.

24   Because I would be out of the office later in the week, I also provided my colleague Supervising

25   Deputy Attorney General William Downer’s contact information and availability to meet and

26   confer. On September 21, 2023, HAF’s counsel responded to my email, but provided only vague

27   additional information. I replied to HAF’s counsel the same day to reiterate my and my

28   colleague’s availability to meet and confer. I reiterated that the scope and substance of Doe
                                                       2
         Decl. of Carly J. Munson in Support of Opposition to Doe Plaintiffs’ Motion to Proceed Under Pseudonyms
                                                (2:22-CV-01656-DAD-JDP)
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 1   Plaintiffs’ request for anonymity remained unclear. I did not receive a reply from HAF’s counsel.

 2   A true and correct copy of counsels’ email correspondence of September 20 and 21, 2023 is

 3   attached hereto as Exhibit A.

 4         6.     On September 21, 2023, HAF filed its First Amended Complaint. (ECF No. 21).

 5   Plaintiffs’ First Amended Complaint includes two new claims and nine new plaintiffs, including

 6   three unnamed “Doe” Plaintiffs. (ECF No. 21).

 7         7.     Following our email correspondence of September 20 and 21, 2023, HAF’s counsel

 8   did not speak with me or my colleague, Mr. Downer, further regarding the substance of Doe

 9   Plaintiffs’ anticipated motion to proceed under pseudonyms. On October 6, 2023, Plaintiffs filed

10   their Motion to Proceed Under Pseudonyms for the three unnamed Doe Plaintiffs. (ECF No. 24).

11         8.     To date, the identities of three Doe Plaintiffs have not been disclosed to Defendant

12   Kish or his counsel.

13         9.     To date, the Parties have not discussed or developed any agreements regarding how

14   prejudice to Director Kish could be mitigated at each stage of this case (for example, by preparing

15   an agreement regarding how to the Parties propose to conduct discovery).

16         10.    On May 17, 2024, my colleague, Deputy Attorney General Jennifer A. Soliman, and I

17   spoke with Mr. Travelstead by videoconference as part of our meet and confer efforts regarding

18   Director Kish’s concurrently filed Motion to Dismiss Plaintiffs’ First Amended Complaint.

19   During that conversation, I informed Mr. Travelstead that Director Kish would be opposing Doe

20   Plaintiffs’ Motion to Proceed Under Pseudonyms as currently presented to the Court, but that we

21   remain open meeting and conferring to discuss ways that prejudice to Director Kish could be

22   effectively mitigated.

23         I declare under penalty of perjury under the laws of the United States of America that the

24   foregoing is true and correct, and this declaration was executed at Sacramento, California this

25   20th day of May, 2024.

26                                                                /s/ Carly J. Munson______________
                                                                  CARLY J. MUNSON
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                                                           3
         Decl. of Carly J. Munson in Support of Opposition to Doe Plaintiffs’ Motion to Proceed Under Pseudonyms
                                                (2:22-CV-01656-DAD-JDP)
      Case 2:22-cv-01656-DAD-JDP Document 40-1 Filed 05/20/24 Page 4 of 7




                               Exhibit A




Decl. of Carly J. Munson in Support of Opposition to Doe Plaintiffs’ Motion to Proceed Under Pseudonyms
                                       (2:22-CV-01656-DAD-JDP)
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Carly Munson

From:                               Carly Munson
Sent:                               Thursday, September 21, 2023 10:54 AM
To:                                 Tim Travelstead
Cc:                                 Scott Ku; John Romero; William Downer
Subject:                            RE: HAF v. Kish - Amended Complaint


Tim,

Thanks for clarifying that you intend to file a motion. As I said, I’m available to meet and confer before 2 p.m. today. If
that window does not work for you, my colleague Sonny (William) Downer is available thereafter while I’m out of the
office.

From your email below, it is still not clear what the bases are for the proposed plaintiffs to proceed using
pseudonyms. It is also unclear whether you are proposing to keep the identities of the plaintiffs confidential from both
the public and the defendant, or whether you intend to disclose the identities of the plaintiffs to us and only seek to
shield their names from the public.

Best regards,
Carly

From: Tim Travelstead <t.travelstead@narayantravelstead.com>
Sent: Thursday, September 21, 2023 10:18 AM
To: Carly Munson <Carly.Munson@doj.ca.gov>
Cc: Scott Ku <s.ku@narayantravelstead.com>; John Romero <j.romero@narayantravelstead.com>; William Downer
<William.Downer@doj.ca.gov>
Subject: Re: HAF v. Kish - Amended Complaint

EXTERNAL EMAIL: This message was sent from outside DOJ. Please do not click links or open attachments that appear suspicious.

Carly,

The local rules require us to meet and confer before filing a motion. The grounds for the request are similar to
those used by the CRD in asking for John Doe to remain anonymous in the Cisco matter. They are tech
industry workers worried about being targeted by the CRD, their employers, and anti-Hindu vitriol on line and
in the workplace.

I suggested a stipulation as a method to communicate to the Court that the parties do not oppose the request, not
to suggest that a stipulation would itself be sufficient. It would, of course, always be up to the Court.

Thanks.

Tim



Tim Travelstead
Managing Attorney
                                                               1
            Case 2:22-cv-01656-DAD-JDP Document 40-1 Filed 05/20/24 Page 6 of 7
Narayan Travelstead P.C.
7901 Stoneridge Drive
Suite 230
Pleasanton, CA 94588

Telephone: (650) 403-0150
T.Travelstead@NarayanTravelstead.com


      On Sep 20, 2023, at 5:25 PM, Carly Munson <Carly.Munson@doj.ca.gov> wrote:

      Tim,

      Thank you for your email. As a preliminary matter, I’m not aware that the Federal Rules allow us to
      address this issue by stipulation. If you believe we can do so, please provide the relevant Rules for
      consideration.

      With regard to the substance of the issue, you have not provided sufficient information for us to
      reasonably evaluate whether these individuals meet the test for proceeding under pseudonym, nor our
      position on the issue.

      Similarly, the scope of your proposed relief is unclear. To the extent that you are seeking permission not
      to disclose the plaintiffs’ identities to Director Kish, as the defendant in this matter, we would have
      concerns. Without knowing the plaintiffs’ identities, Director Kish will be severely prejudiced in his
      ability to defend this matter, including as to issues of immediate importance such as evaluating whether
      the plaintiffs have standing. Further, there is no reasonable factual basis for asserting that Director Kish
      would target any individual plaintiffs if aware of their identities.

      I can be available to discuss this matter before 2 p.m. tomorrow. However, I have long-standing
      vacation plans that will take me away from the office thereafter, returning next Thursday. In my
      absence, please contact my colleague, Sonny Downer, who is copied on this email, if you need further
      assistance on this matter.

      Best regards,
      Carly

       <image001.png>       Carly J. Munson
                            Deputy Attorney General | Civil Rights Enforcement Section
                            California Department of Justice
                            Office of the Attorney General
                            1300 I Street | Sacramento, CA 95814
                            Phone: (916) 210-7845 | Email: Carly.Munson@doj.ca.gov
                            She / her / hers




      From: Tim Travelstead <t.travelstead@narayantravelstead.com>
      Sent: Wednesday, September 20, 2023 12:27 PM
      To: Carly Munson <Carly.Munson@doj.ca.gov>
      Cc: Scott Ku <s.ku@narayantravelstead.com>; John Romero <j.romero@narayantravelstead.com>
      Subject: HAF v. Kish - Amended Complaint



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EXTERNAL EMAIL: This message was sent from outside DOJ. Please do not click links or open attachments that appear suspicious.

        Carly,

        HAF is filing an amended Complaint that will add individual plaintiff’s to the case. Some of
        those plaintiffs want to remain anonymous because of the threat of being targeted by either the
        CRD or their employers/coworkers because of their participation.

        Are you willing to stipulate that they can appear in the case anonymously?


        Thanks.

        Tim



        Tim Travelstead
        Managing Attorney
        Narayan Travelstead P.C.
        7901 Stoneridge Drive
        Suite 230
        Pleasanton, CA 94588

        Telephone: (650) 403-0150
        T.Travelstead@NarayanTravelstead.com


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